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                                     IN THE UNITED STATES DISTRICT COURT
                                    FOR THE WESTERN DISTRICT OF VIRGINIA
                                              ROANOKE DIVISION

         LEAH WYNETTE WILLIAMS and                      )
         PHYLLIS ANN WILLIAMS ,                         )
                                                        )
                        Plaintiffs,                     )
                                                        )
         v.                                             )           Civil Action No.7: 17CV446
                                                        )
         LISA ANNETTE LIPSCOMB,
                                                        )
         JAMES AYERS, and PLATINUM
                                                        )
         CORRAL, LLC,
                                                        )
                        Defendants.                     )


                                         ORDER OF DISMISSAL WITH PREJUDICE

                  This matter is before the Court at the request of Plaintiffs, Leah Wynette Williams

         and Phyllis Ann Williams, to voluntarily dismiss this matter in its entirety with prejudice

         pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure. All counsel of record

         are signatories to this Order indicating the parties' stipulation to the voluntary dismissal

         of this matter with prejudice.

                  As such, it is ORDERED that the defendants, Lisa Annette Lipscomb, James Ayers,

         and Platinum Corral, LLC, be and hereby are DISMISSED with prejudice from this matter

         and that this matter be and hereby is DISMISSED in its entirety with prejudice from the

         docket of this Court.

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                                                            UNITED STATES DISTRICT COURT JUDGE


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